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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

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PAULA   WALLRICH, DANIELLE JONES, :       Civil Action No: 1:22-cv-05506
GRANT GRINNELL, JEFFREY BURTON, :
RHONDA MCCALLUM, PROVIDENCIA :            Hon. Harry D. Leinenweber
VILLEGAS, and 49,980 other individuals, :
                                        :
                        Petitioners,    : (Addressing related action docketed as
                                        : Melanie Hoeg, Angela Davis, Melinda
            - against -                 : Garcia, and 1,025 Other Individuals v.
                                        : Samsung Electronics America, Inc., and
SAMSUNG ELECTRONICS AMERICA, :            Samsung Electronics Co., Ltd. (d/b/a
INC. and SAMSUNG ELECTRONICS CO., :       Samsung Electronics America, Inc.),
LTD.,                                   : Civil Action No. 1:23-cv-01951, presently
                                        : assigned to the Hon. Jorge L. Alonso)
                        Respondents.
                                        :
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-
       RESPONDENTS’ MOTION FOR REASSIGNMENT OF RELATED CASE

       Pursuant to this Court’s Local Rule 40.4(c), Respondents hereby move that the action

captioned as Melanie Hoeg, Angela Davis, Melinda Garcia, and 1,025 Other Individuals v.

Samsung Electronics America, Inc., and Samsung Electronics Co., Ltd. (d/b/a Samsung

Electronics America, Inc.), which was filed in this Court on March 28, 2023, docketed as Civil

Action No. 1:23-cv-01951, and presently assigned to the Hon. Jorge L. Alonso of this District

(“Hoeg”), be reassigned to the Hon. Harry D. Leinenweber, who presides over the above-

captioned action (“Wallrich”).

       As grounds therefor, Respondents respectfully submit that (i) the petitioners in Hoeg

acknowledge that their action is related to Wallrich; (ii) at least 241 (i.e., 23%) of the Hoeg

petitioners are also petitioners in Wallrich; (iii) the respondents in Hoeg and Wallrich are the

same; (iv) there is a substantial overlap between the issues involved in Hoeg and Wallrich; and

(v) reassignment of Hoeg will facilitate this Court’s efficient resolution of the two actions.
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       As further grounds for this Motion, Respondents state as follows:

       1.      On October 7, 2022, this action—Wallrich—was commenced in this Court by the

filing of a petition to compel arbitration on behalf of 49,986 claimants against Samsung

Electronics America, Inc., and Samsung Electronics Co., Ltd. (collectively, “Samsung”). (See

Wallrich ECF No. 1 (“Wallrich Pet.”).)

       2.      The Wallrich petitioners, represented by Labaton Sucharow LLP (“Labaton”) and

the Wallace Miller firm, assert that they wish to pursue claims against Respondents under the

Illinois Biometric Information Privacy Act (“BIPA”) in arbitration before the American

Arbitration Association (“AAA”) related to the functionality of the Gallery Photo App on

Samsung Galaxy smartphones and tablets.

       3.      This Court set a briefing schedule in Wallrich (ECF No. 14) for Petitioners’

Motion To Compel Arbitration (ECF No. 2) and Respondents’ Motion To Dismiss Petition To

Compel Arbitration (ECF No. 26).

       4.      The issues presented and the relief sought by the pending motions in Wallrich

include the following:

               (i)       whether the Federal Arbitration Act authorizes the Wallrich Petitioners to
                         seek the relief that they request when Respondents followed the AAA
                         rules and the AAA closed the Wallrich Petitioners’ arbitration proceedings
                         at the Wallrich Petitioners’ request;

               (ii)      whether the Wallrich Petitioners have waived any right to the relief sought
                         by refusing to advance arbitration fees when offered that opportunity by
                         the AAA and instead requesting that the AAA close the arbitrations;

               (iii)     whether the Wallrich Petitioners could be entitled to any equitable relief in
                         view of their adequate remedies at law;

               (iv)      whether the Wallrich Petitioners have each pleaded an adequate basis for
                         venue in this Court;

               (v)       whether the Wallrich Petitioners are permitted to proceed collectively via
                         their petition under the terms of the arbitration agreement that they

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                      putatively seek to enforce (which includes a class action and collective
                      action waiver); and

               (vi)   whether the Wallrich Petitioners have sufficiently pleaded that each of
                      them has a valid arbitration agreement with Respondents.

       5.      As of February 9, 2023, those motions were fully briefed in Wallrich. This Court

has advised that it will rule by mail on those motions. (See ECF Nos. 33, 37.)

       6.      On March 28, 2023, Hoeg was commenced by 1,028 petitioners represented by a

different set of counsel—Milberg Coleman Bryson Phillips Grossman PLLC (“Milberg”) and

Robbins Geller Rudman & Dowd LLP (“Robbins Geller”). (See Ex. 1, Hoeg (“Hoeg Pet.”) and

Ex. 2, Hoeg Civil Cover Sheet.)

       7.      Like the Wallrich petitioners, the Hoeg petitioners assert that they wish to pursue

claims against Respondents under BIPA in AAA arbitration to challenge the functionality of the

Gallery Photo App on Samsung Galaxy smartphones and tablets. (Hoeg Pet. ¶ 2.) Although the

Hoeg Petition involves only 1,028 petitioners, Milberg and Robbins Geller also assert in the

petition that they represent approximately 60,000 potential claimants with identical claims

against Respondents. (Id. ¶ 17 n.4.)

       8.      Not only are the respondents in Wallrich and Hoeg identical (i.e., Samsung

Electronics America and Samsung Electronics Co., Ltd.), but at least 241 of the 1,028 Hoeg

petitioners—over 23%—are also petitioners in Wallrich. (See Ex. 3, listing those petitioners.) It

is unclear on what basis Milberg and Robbins Geller could now claim to represent those

petitioners in Hoeg when those same persons have been represented in Wallrich by Labaton for

five months, seeking substantively identical relief.1 The Hoeg petitioners should not be heard to



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       Respondents noted in their briefing on the pending motions in Wallrich that certain
Wallrich petitioners “also purport to be represented by entirely different counsel on the same

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assert that Respondents have engaged in “undeniable gamesmanship and multiplication of

proceedings” (Hoeg Pet. ¶ 45 n.6), when many of those very petitioners have now filed an

entirely duplicative petition against Respondents. See Weizeorick v. ABN AMRO Mortg. Grp.,

Inc., No. 01 C 713, 2004 WL 528006, at *3 (N.D. Ill. Mar. 16, 2004) (“[C]laim splitting is not

favored because it multiplies the costs of litigation on an opponent[’]s adversaries and the

judicial system.”).

       9.      The Hoeg petition is substantially similar to the Wallrich petition and in many

instances tracks the language of the Wallrich petition verbatim (or nearly so). For example:

   Wallrich Petition (filed October 7, 2022)                 Hoeg Petition (filed March 28, 2023)

 27. Samsung has nearly a 30% market share               26. Samsung has nearly a 30% market share
 of the smartphone market in the United                  of the smartphone market in the United
 States, and a 17.6% market share of the tablet          States, and a 17.6% market share of the tablet
 market. Since 2009, Samsung has sold over 2             market. Since 2009, Samsung has sold over 2
 billion “Samsung Galaxy”(formerly stylized              billion “Samsung Galaxy” (formerly stylized
 as “Samsung GALAXY”) smartphone                         as “Samsung GALAXY”) smartphone
 devices and more than 50 million “Galaxy                devices and more than 50 million “Galaxy
 Tab” devices (collectively “Samsung                     Tab” devices (collectively “Samsung
 Devices”) within the last two years. The                Devices”) within the last two years. The
 Samsung Galaxy product line includes the                Samsung Galaxy product line includes the
 popular Galaxy S, Galaxy Note, Galaxy Z,                popular Galaxy S, Galaxy Note, Galaxy Z,
 Galaxy A (Alpha), and Galaxy M (Millennial)             Galaxy A (Alpha), and Galaxy M (Millennial)
 series. Samsung is the designer, manufacturer,          series. Samsung is the designer, manufacturer,
 and vendor of Samsung smartphones, tablets,             and vendor of Samsung smartphones, tablets,
 and apps.                                               and apps.

 28. Petitioners are purchasers of Samsung’s             27. Petitioners are purchasers of Samsung’s
 Devices who have taken photographs of                   Devices who have taken photographs of
 themselves using their Samsung Device,                  themselves using their Samsung Devices,
 including photographs of their faces and other          including photographs of their faces and other
 physical attributes, while residing in the State        physical attributes, while residing in the State
 of Illinois and, as a result, had their biometric       of Illinois and, as a result, had their biometric



threatened claim against [Respondents].” (Wallrich ECF No. 27, at 14.) This overlap heightens
Respondents’ concerns that the counsel purporting to represent these petitioners have failed to
conduct any requisite diligence on their clients, and that the petitioners themselves may not be
aware that they have become parties to an action in federal court.

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   Wallrich Petition (filed October 7, 2022)               Hoeg Petition (filed March 28, 2023)

 data surreptitiously collected in violation of        data surreptitiously collected in violation of
 Illinois law.                                         Illinois law.

 29. Samsung entered into an agreement with            28. Samsung entered into a binding agreement
 each Petitioner requiring that Samsung and            with each Petitioner requiring that Samsung
 the Petitioner individually arbitrate any claim       and the Petitioner individually arbitrate any
 arising from the performance of the product,          claim arising from the performance of the
 including a claim that Samsung’s technology           Devices, including a claim that Samsung’s
 surreptitiously generates and collects                technology surreptitiously generates and
 Petitioners’ biometric data in violation of           collects Petitioners’ biometric data in
 Illinois law. See, e.g., Exs. B-E (Mutual             violation of Illinois law. See Ex. B at 4, 9-12.
 Arbitration Agreement). The agreement                 The agreement further requires the arbitration
 further requires that the arbitration be              be administered by AAA under the Consumer
 administered by AAA under the Consumer                Rules. Id. at 10-11.
 Rules. Id.


(Compare also Wallrich Pet. ¶¶ 20-24 with Hoeg Pet. ¶¶ 18-22; Wallrich Pet. ¶¶ 25-26 with

Hoeg Pet. ¶¶ 24-25; Wallrich Pet. ¶¶ 30-33 with Hoeg Pet. ¶¶ 29-32; Wallrich Pet. ¶ 42 with

Hoeg Pet. ¶ 42.) Significantly, both Petitions seek substantially identical relief:

   Wallrich Petition (filed October 7, 2022)               Hoeg Petition (filed March 28, 2023)

           PRAYER FOR RELIEF                                     PRAYER FOR RELIEF

 WHEREFORE, Petitioners respectfully                   WHEREFORE, Petitioners respectfully
 request that this Court enter an order granting       request that this Court enter an order granting
 the following relief:                                 the following relief:

 43. Requiring that Samsung arbitrate each             43. Requiring that Samsung arbitrate each
 Petitioner’s claims under the Mutual                  Petitioner’s claims in accordance with the
 Arbitration Provision, pursuant to 9 U.S.C.           terms of the Mutual Arbitration Provisions,
 § 4, which includes paying the arbitration fees       pursuant to 9 U.S.C. §4, which includes
 and costs AAA determines are necessary to             paying the arbitration fees and costs necessary
 empanel arbitrators and proceed with                  to empanel arbitrators and proceed with the
 arbitrations;                                         arbitrations;

 44. Petitioners’ reasonable attorneys’ fees,          44. Awarding Petitioners’ reasonable
 costs, and expenses; and                              attorneys’ fees, costs, and expenses; and

 45. Granting such other relief as the Court           45. Granting all such other relief that the
 deems just and proper.                                Court deems just and proper.



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       10.     The Hoeg petitioners expressly acknowledged in their Civil Cover Sheet that their

action is related to Wallrich, although they did not identify Judge Leinenweber by name:




(See Ex. 2, Hoeg Civil Cover Sheet )

       11.     Respondents respectfully submit that many of the issues raised and briefed in the

pending motions in Wallrich (as set forth above) are likely to have a bearing on the request for

relief sought by the Hoeg petitioners 2

       12.     Accordingly, Respondents respectfully submit that under Local Rule 40.4 of this

Court, Hoeg should properly be reassigned to the Hon. Harry D. Leinenweber, who presides over

Wallrich:

               •   The Hoeg petitioners have acknowledged that their action is related to

                   Wallrich.

               •   As demonstrated above, Hoeg and Wallrich “involve some of the same issues

                   of fact or law” and “grow out of the same transaction or occurrence” (i.e.,

                   closed arbitral proceedings before the AAA involving putative BIPA claims

                   asserted against Respondents). Local Rule 40.4(a)(2)-(3).

               •   Each of the four criteria of Local Rule 40.4(b) would appear to be met here:

                       (1) both cases are pending in this Court;
                       (2) the handling of both cases by the same judge is likely to result in a
                            substantial saving of judicial time and effort;
                       (3) the earlier case [Wallrich] has not progressed to the point where
                            designating a later filed case [Hoeg] as related would be likely to
                            delay the proceedings in the earlier case [Wallrich] substantially;
                            and
                       (4) the cases are susceptible of disposition in a single proceeding.


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       Respondents reserve their rights to raise additional defenses to the Hoeg Petition.

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                          Id.

        13.        As this Court has noted, Local Rule 40.4 “does not require that the cases be

completely identical to permit reassignment. Rather, the issue is whether both actions ‘involve

fundamentally similar claims and defenses that will likely be amenable to dispositive treatment

in unified proceedings.’” Pactiv Corp. v. Multisorb Techs., Inc., No. 10 C 461, 2011 WL

686813, at *5 (N.D. Ill. Feb. 15, 2011) (Leinenweber J.) (citation omitted) (granting motion for

reassignment); see also Bakov v. Consol. World Travel, Inc., No. 15 C 2980, 2020 WL

10963912, at *3 (N.D. Ill. July 2, 2020) (Leinenweber J.) (granting motion for reassignment

where “the Plaintiffs bring similar claims in both cases and Defendants raise very similar

defenses. It not only makes sense to resolve these matters in a single proceeding—it makes little

sense not to.”).




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                       CONCLUSION AND RELIEF REQUESTED

       For the foregoing reasons, Respondents respectfully submit that reassignment of Hoeg to

the Hon. Harry D. Leinenweber is warranted.3

 Dated: March 30, 2023                             Respectfully submitted,


                                                   /s/ Randall W. Edwards
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                                                   Samsung Electronics Co., Ltd.




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      As of this writing, service has not been effectuated on Respondents in Hoeg.
Respondents have not waived service and reserve all of their rights in that regard.

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 30th day of March, 2023, he caused the

foregoing Respondents’ Motion For Reassignment Of Related Case to be filed with the Clerk of

the District Court via the CM/ECF system, which will send notification of such filing to all

counsel of record in Wallrich at the email addresses on file with the Court.

       The undersigned further certifies that on that same day, he caused a copy of the foregoing

Respondents’ Motion For Reassignment Of Related Case to be served by electronic mail to all

counsel of record in the action captioned Melanie Hoeg et al. v. Samsung Electronics America,

Inc. et al., which is docketed as Civil Action No. 1:23-cv-1951 in this Court, as follows:

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Dated: March 30, 2023
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